                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION

                                              §
FRACTUS, S.A.,                                §
                                              §            Civil Action No. 2:22-cv-00412-JRG
                   v.                         §             (Lead Case)
                                              §
ADT LLC d/b/a ADT SECURITY                    §            Jury Trial Requested
SERVICES                                      §

                                              §
FRACTUS, S.A.,                                §
                                              §            Civil Action No. 2:22-cv-00413-JRG
                   v.                         §             (Member Case)
                                              §
VIVINT, INC.                                  §             Jury Trial Requested
                                              §


                                 DOCKET CONTROL ORDER

          In accordance with the scheduling conference held in this case, it is hereby ORDERED

that the following schedule of deadlines is in effect until further order of this Court:

    Current Date        Amended Date       Event

    July 8, 2024                           *Jury Selection – 9:00 a.m. in Marshall, Texas

    7 days before                          *Defendant to disclose final invalidity theories, final
    Jury Selection                         prior art references/combinations, and final equitable
                                           defenses. 1

    10 days before                         *Plaintiff to disclose final election of Asserted Claims. 2
    Jury Selection




1
 The proposed DCO shall include this specific deadline. The deadline shall read, “7 days before
Jury Selection,” and shall not include a specific date.
2
 Given the Court’s past experiences with litigants dropping claims and defenses during or on the
eve of trial, the Court is of the opinion that these additional deadlines are necessary. The proposed
    June 10, 2024                         * If a juror questionnaire is to be used, an editable (in
                                          Microsoft Word format) questionnaire shall be jointly
                                          submitted to the Deputy Clerk in Charge by this date. 3

    June 3, 2024                          *Pretrial Conference – 9:00 a.m. in Marshall, Texas
                                          before Judge Rodney Gilstrap

    May 28, 2024                          *Notify Court of Agreements Reached During Meet
                                          and Confer

                                          The parties are ordered to meet and confer on any
                                          outstanding objections or motions in limine. The
                                          parties shall advise the Court of any agreements
                                          reached no later than 1:00 p.m. three (3) business days
                                          before the pretrial conference.

    May 28, 2024                          *File Joint Pretrial Order, Joint Proposed Jury
                                          Instructions, Joint Proposed Verdict Form, Responses
                                          to Motions in Limine, Updated Exhibit Lists, Updated
                                          Witness Lists, and Updated Deposition Designations

    May 20, 2024                          *File Notice of Request for Daily Transcript or Real
                                          Time Reporting.

                                          If a daily transcript or real time reporting of court
                                          proceedings is requested for trial, the party or parties
                                          making said request shall file a notice with the Court
                                          and e-mail the Court Reporter, Shawn McRoberts, at
                                          shawn_mcroberts@txed.uscourts.gov.

    May 13, 2024                          File Motions in Limine

                                          The parties shall limit their motions in limine to issues
                                          that if improperly introduced at trial would be so
                                          prejudicial that the Court could not alleviate the
                                          prejudice by giving appropriate instructions to the jury.

    May 13, 2024                          Serve Objections to Rebuttal Pretrial Disclosures




DCO shall include this specific deadline. The deadline shall read, “10 days before Jury Selection,”
and shall not include a specific date.
3
 The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires in
Advance of Voir Dire.
    May 6, 2024                           Serve Objections to Pretrial Disclosures; and Serve
                                          Rebuttal Pretrial Disclosures

    April 22, 2024                        Serve Pretrial Disclosures (Witness List, Deposition
                                          Designations, and Exhibit List) by the Party with the
                                          Burden of Proof

    April 15, 2024                        *Response to Dispositive Motions (including Daubert
                                          Motions). Responses to dispositive motions that were
                                          filed prior to the dispositive motion deadline, including
                                          Daubert Motions, shall be due in accordance with
                                          Local Rule CV-7(e), not to exceed the deadline as set
                                          forth in this Docket Control Order. 4 Motions for
                                          Summary Judgment shall comply with Local Rule CV-
                                          56.

    April 1, 2024                         *File Motions to Strike Expert Testimony (including
                                          Daubert                                   Motions)

                                          No motion to strike expert testimony (including a
                                          Daubert motion) may be filed after this date without
                                          leave of the Court.

    April 1, 2024                         *File Dispositive Motions

                                          No dispositive motion may be filed after this date
                                          without leave of the Court.

                                          Motions shall comply with Local Rule CV-56 and
                                          Local Rule CV-7. Motions to extend page limits will
                                          only be granted in exceptional circumstances.
                                          Exceptional circumstances require more than
                                          agreement among the parties.

    March 25, 2024                        Deadline to Complete Expert Discovery

    March 11, 2024                        Serve Disclosures for Rebuttal Expert Witnesses

    February 20,                          Deadline to Complete Fact Discovery and File Motions
    2024                                  to Compel Discovery

4
  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s failure to
oppose a motion in the manner prescribed herein creates a presumption that the party does not
controvert the facts set out by movant and has no evidence to offer in opposition to the motion.”
If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to Dispositive
Motions, the deadline for Response to Dispositive Motions controls.
February 20,                         Serve Disclosures for Expert Witnesses by the Party
2024                                 with the Burden of Proof

February 8, 2024                     Comply with P.R. 3-7 (Opinion of Counsel Defenses)

January 18, 2024                     *Claim Construction Hearing – 9:00 a.m. in Marshall,
                                     Texas before Judge Rodney Gilstrap

January 4, 2024                      *Comply with P.R. 4-5(d) (Joint Claim Construction
                                     Chart)

December 28,                         *Comply with P.R. 4-5(c) (Reply Claim Construction
2023                                 Brief)

December 21,       December     14, Comply with P.R.         4-5(b)   (Responsive    Claim
2023               2023             Construction Brief)

December 7,        November     16, Comply with P.R. 4-5(a) (Opening Claim Construction
2023               2023             Brief) and Submit Technical Tutorials (if any)

                                     Good cause must be shown to submit technical tutorials
                                     after the deadline to comply with P.R. 4-5(a).

December 7,        November     16, Deadline to Substantially Complete           Document
2023               2023             Production and Exchange Privilege Logs

                                     Counsel are expected to make good faith efforts to
                                     produce all required documents as soon as they are
                                     available and not wait until the substantial completion
                                     deadline.

November 24,       November      2, Comply with P.R. 4-4 (Deadline to Complete Claim
2023               2023             Construction Discovery)

November 16,                         File Response to Amended Pleadings
2023

November 2,                          *File Amended Pleadings
2023
                                     It is not necessary to seek leave of Court to amend
                                     pleadings prior to this deadline unless the amendment
                                     seeks to assert additional patents.

October 26, 2023   October 5, 2023   Comply with P.R. 4-3 (Joint Claim Construction
                                     Statement)
    October 5, 2023    September    14, Comply with P.R. 4-2 (Exchange Preliminary Claim
                       2023             Constructions)

    September 14,      August 24, 2023    Comply with P.R. 4-1 (Exchange Proposed Claim
    2023                                  Terms)

    March 2, 2023      April 13, 2023     Comply with Standing Order Regarding Subject-
                                          Matter Eligibility Contentions 5

    March 2, 2023      April 13, 2023     Comply with P.R. 3-3 & 3-4 (Invalidity Contentions)

    February 9, 2023                      *File Proposed Protective Order and Comply with
                                          Paragraphs 1 & 3 of the Discovery Order (Initial and
                                          Additional Disclosures)

                                          The Proposed Protective Order shall be filed as a
                                          separate motion with the caption indicating whether or
                                          not the proposed order is opposed in any part.

    February 2, 2023                      *File Proposed Docket Control Order and Proposed
                                          Discovery Order

                                          The Proposed Docket Control Order and Proposed
                                          Discovery Order shall be filed as separate motions with
                                          the caption indicating whether or not the proposed
                                          order is opposed in any part.

    January 26, 2023                      Join Additional Parties

    January 5, 2023                       Comply with       P.R.    3-1   &   3-2   (Infringement
                                          Contentions)


(*) indicates a deadline that cannot be changed without an acceptable showing of good
cause. Good cause is not shown merely by indicating that the parties agree that the
deadline should be changed.

                              ADDITIONAL REQUIREMENTS

        Mediation: While certain cases may benefit from mediation, such may not be appropriate
for every case. The Court finds that the Parties are best suited to evaluate whether mediation will
benefit the case after the issuance of the Court’s claim construction order. Accordingly, the Court

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 _http://www.txed.uscourts.gov/sites/default/files/judgeFiles/EDTX%20Standing%20Order%20
Re%20Subject%20Matter%20Eligibility%20Contentions%20.pdf             [https://perma.cc/RQN2-
YU5P]
ORDERS the Parties to file a Joint Notice indicating whether the case should be referred for
mediation within fourteen days of the issuance of the Court’s claim construction order. As a
part of such Joint Notice, the Parties should indicate whether they have a mutually agreeable
mediator for the Court to consider. If the Parties disagree about whether mediation is appropriate,
the Parties should set forth a brief statement of their competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies of
the completed briefing (opening motion, response, reply, and if applicable, sur-reply), excluding
exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-sided and
must include the CM/ECF header. These copies shall be delivered to the Court within three (3)
business days after briefing has completed. For expert-related motions, complete digital copies of
the relevant expert report(s) and accompanying exhibits shall be submitted on a single flash drive
to the Court. Complete digital copies of the expert report(s) shall be delivered to the Court no later
than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed to
include any arguments related to the issue of indefiniteness in their Markman briefing, subject to
the local rules’ normal page limits.

       Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the Court
an Order granting leave to designate different lead counsel. The true lead counsel should be
designated early and should not expect to parachute in as lead once the case has been largely
developed.

         Motions for Continuance: The following will not warrant a continuance nor justify a
failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same day,
       unless the other setting was made prior to the date of this order or was made as a special
       provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

       Amendments to the Docket Control Order (“DCO”): Any motion to alter any date on
the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO shall
include a proposed order that lists all of the remaining dates in one column (as above) and the
proposed changes to each date in an additional adjacent column (if there is no change for a date
the proposed date column should remain blank or indicate that it is unchanged). In other words,
the DCO in the proposed order should be complete such that one can clearly see all the remaining
deadlines and the changes, if any, to those deadlines, rather than needing to also refer to an earlier
version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial Order,
the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The Plaintiff
shall also specify the nature of each theory of infringement, including under which subsections of
35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided infringement or
infringement under the doctrine of equivalents. Each Defendant shall indicate the nature of each
theory of invalidity, including invalidity for anticipation, obviousness, subject-matter eligibility,
written description, enablement, or any other basis for invalidity. The Defendant shall also specify
each
 . prior art reference or combination of references upon which the Defendant shall rely at trial,
with respect to each theory of invalidity. The contentions of the Parties may not be amended,
supplemented, or dropped without leave of the Court based upon a showing of good cause. The
Parties in a case which has been consolidated for pre-trial purposes and which is moving
towards a separate trial on the merits (subsequent to pre-trial) shall file, as an exhibit to the
parties’ Joint Pretrial Order, a list identifying all docket entries from the lead case that relate to
the applicable member case.

        Trial: All parties must appear in person at trial. All non-individual (including but not
limited to corporate) parties must appear at trial through the presence in person of a designated
representative. Once they have appeared, any representative of a non-individual party shall not be
replaced or substituted without express leave of Court.

    So ORDERED and SIGNED this 3rd day of February, 2023.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
